 1                                                         THE HONORABLE RICHARD A. JONES

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 7                                   UNITED STATES DISTRICT COURT
                                    WESTERN DISTRICT OF WASHINGTON
 8                                            AT SEATTLE
 9   E.S., by and through her parents, R.S. and         No. 2:17-cv-01609-RAJ
     J.S., and JODI STERNOFF, both on their
10   own behalf, and on behalf of all similarly         REPLY IN SUPPORT OF
     situated individuals,                              DEFENDANTS’ MOTION TO DISMISS
11                                                      SECOND AMENDED COMPLAINT
                            Plaintiffs,
12
              v.
13
     REGENCE BLUESHIELD; and CAMBIA
14   HEALTH SOLUTIONS, INC., f/k/a THE
     REGENCE GROUP,
15
                            Defendants.
16

17                                          I. INTRODUCTION

18            In an attempt to recast their complaint yet again, Plaintiffs’ Opposition to Defendants’

19   Motion to Dismiss (“Opposition”) fails in its attempt to manufacture a claim of proxy

20   discrimination, using implausible allegations and the wrong legal test. Effectively conceding

21   that the Policy as a whole is not discriminatory, Plaintiffs narrow the analysis to only the part of

22   the Exclusion that they believe to be more closely associated with disability—hearing aids. In

23   doing so, Plaintiffs set up a false dichotomy by arguing that: (1) the only hearing-loss-related

24   treatment Regence allegedly covers (basic screening/diagnostic testing) is the only treatment that

25   non-disabled persons require, while (2) a specific hearing-loss-related treatment that Regence

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                                                                                     STOEL RIVES LLP
                                                                                          ATTORNEYS
                                                                     600 University Street, Suite 3600, Seattle, WA 98101
     115773116.5 0027496-00127                                                     Telephone 206.624.0900
 1   does not cover (hearing aids) is only required by disabled persons. Plaintiffs’ theory should be

 2   rejected for at least three reasons.

 3            First, regarding testing and screening, Plaintiffs rely on implausible allegations and

 4   illogical inferences. Plaintiffs fail to plausibly allege that Regence in fact covers basic screening

 5   or diagnostic testing for hearing loss. Plaintiffs’ new “evidence” not only does not demonstrate

 6   that Regence covers such services, but it is inadmissible hearsay as well. More importantly, even

 7   accepting Plaintiffs’ assertions about Regence’s scope of coverage, Plaintiffs fail to demonstrate

 8   that basic screening or diagnostic testing would only benefit non-disabled persons, that disabled

 9   persons would not benefit from such treatment, or that non-disabled persons would not require

10   further routine testing for hearing loss. As a result, Plaintiffs do not establish even at this stage

11   that the benefits Regence offers for hearing-related testing or screening are somehow

12   intentionally designed to benefit only non-disabled persons, or that non-disabled persons get all

13   the hearing-related treatment they need, while disabled persons do not.

14            Second, Plaintiffs’ focus on hearing aids also does not demonstrate proxy discrimination.

15   Applying the wrong legal standard, Plaintiffs argue that all disabled persons require hearing aids,

16   while almost no non-disabled persons would need them. But that assertion is implausible,

17   inconsistent with Plaintiffs’ own allegations and logic, and ignores the coverage for cochlear

18   implants—treatment that unquestionably addresses the needs of some disabled persons.

19            Third, the premise of Plaintiffs’ approach is fundamentally flawed. Any “fit” between

20   exclusion and disability can be created by narrowing the exclusion to only one type of treatment

21   that addresses the most severe physical conditions. But there is no support for that theory of

22   intentional, or proxy, disability discrimination in Schmitt or any other case.

23            Even accepting Plaintiffs’ allegations and assertions, Regence’s coverage for hearing loss

24   includes some treatment that benefits both disabled and non-disabled persons (basic and

25   diagnostic testing), does not cover some treatment that would benefit both disabled and non-

26   disabled persons (routine testing and hearing aids), and covers treatment that benefits almost

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                                                                       600 University Street, Suite 3600, Seattle, WA 98101
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 1   exclusively disabled persons (cochlear implants). That benefit design—which is consistent with

 2   the carefully crafted regulatory requirements governing this complex marketplace—simply does

 3   not support a claim of intentional discrimination by proxy against the disabled.

 4            Plaintiffs’ remaining theories in the Second Amended Complaint (“SAC”) also fail. The

 5   Ninth Circuit analyzes disparate impact claims under the Affordable Care Act (“ACA”) pursuant

 6   to the test outlined by the Supreme Court in Choate, which requires denial of meaning access to

 7   a benefit that is available to other insureds, and Plaintiffs have not been denied such access—

 8   whether that benefit is hearing aids or hearing treatment more generally. Furthermore, Plaintiffs’

 9   intentional discrimination theory is not a separate claim for relief but rather an additional element

10   required for recovery of damages. Even if intentional discrimination could be asserted as a

11   standalone claim, Plaintiffs’ allegations are conclusory and unsupported. Finally, Plaintiffs’ state

12   law claims must also be dismissed. The Washington Legislature did not add a private right of

13   action to RCW 43.48.0128 as Plaintiffs claim, and even if it had, conduct that is expressly

14   allowed by regulation cannot violate state law. Plaintiffs acknowledge that their claims under

15   the Consumer Protection Act (“CPA”) and for declaratory and injunctive relief rise and fall with

16   other claims.

17                                                  II. ARGUMENT

18   A.       Plaintiffs Fail to State a Claim for Proxy Discrimination.

19            To state a claim of proxy discrimination, the “fit” between the disabled and the group

20   impacted by the Exclusion must be “so close” that discrimination “can be inferred without

21   more.” Davis v. Guam, 932 F.3d 822, 838 (2019). 1 Plaintiffs attempt to meet this burden by

22   intermixing the “needs-based” approach suggested in Schmitt v. Kaiser Foundation Health Plan

23   of Washington (and that failed to state a claim in Plaintiffs’ first Amended Complaint) with an

24   alleged statistical fit between the Policy and disability—an approach that failed in Plaintiffs’ first

25            1
                As Defendants previously explained, Plaintiffs’ interpretation of Schmitt and its progeny is incorrect.
     (Dkt. 45 at 6-7.) Plaintiffs’ Opposition does not respond to that argument, and Plaintiffs continue to use the
26   incorrect standard that the proxy need only “predominately affect disabled persons.” (See Dkt. 49 at 12, 16, 18-19.)

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                                                                               600 University Street, Suite 3600, Seattle, WA 98101
     115773116.5 0027496-00127                                                               Telephone 206.624.0900
 1   Complaint. 965 F.3d 945, 959, n.8 (9th Cir. 2020). Both approaches rely on attempts to

 2   artificially limit the Court’s analysis: (1) by erroneously claiming that coverage for screening and

 3   diagnostic testing exists and addresses all hearing needs of nondisabled insureds, and (2) by

 4   challenging only the exclusion of hearing aids rather than the exclusion of all hearing treatment

 5   other than cochlear implants. Plaintiffs’ new arguments do not state a claim for several reasons.

 6            1.         Plaintiffs Do Not Allege That Regence Covered Their Screening and
                         Diagnostic Tests.
 7

 8            The SAC does not allege that Regence has actually provided Plaintiffs with coverage for

 9   screening or diagnostic testing. 2 Instead, they allege that their Policy hypothetically covers such

10   testing as a matter of contract interpretation because it covers routine physical examinations and

11   diagnostic services generally. Defendants’ Motion showed that the sources Plaintiffs relied on

12   do not support that assertion. (Dkt. 45 at 15-16.) In conjunction with their Opposition, Plaintiffs

13   filed a declaration from attorney Rick Spoonemore, who merely repeats expert testimony and

14   attaches four exhibits. (Dkt. 50.) The Court should disregard the Spoonemore Declaration and

15   its attached exhibits because extrinsic evidence is improper in opposition to a motion to dismiss

16   under Rule 12(b)(6). Lee v. City of Los Angeles, 250 F.3d 668, 688 (2001).

17            But even if the Court were to consider the declaration and exhibits, they have little to no

18   persuasive value and do not support Plaintiffs’ contentions. In the declaration, Mr. Spoonemore

19   repeats the hearsay testimony of a retained expert who allegedly opines, independent of

20   Regence’s actual practice, that “routine hearing examinations” do not include diagnostic hearing

21   tests. (Dkt. 50 ¶ 2.) Mr. Spoonemore then also repeats hearsay testimony of certain unnamed

22   providers who allegedly confirm the expert’s understanding. (Id. ¶ 3.) None of this evidence is

23   admissible, nor is it relevant to the sufficiency of Plaintiffs’ SAC, which again, does not allege

24   that Plaintiffs ever actually received coverage from Regence for a screening or diagnostic test.

25

26            2
                  Plaintiffs’ initial Complaint alleged that they were forced to pay out of pocket for testing. (Dkt. 1 ¶ 31.)

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 1             Likewise, none of the exhibits show that Regence covered screening or diagnostic

 2   hearing tests. Mr. Spoonemore says Exhibit A shows that “evaluations by E.S.’s

 3   otolaryngologist, Kathleen Sie, M.D. . . . were covered by Regence,” but it shows no such thing.

 4   While Exhibit A shows a charge of $1,567.00 for “Aud osseo dev, int/ext comp,” the full amount

 5   is listed as “Disallow,” leaving a “Total Patient Liability” of $1,567.00. (Dkt. 50-1 at 2.) The

 6   other exhibits, at most, show that one of the Plaintiffs was medically cleared for a hearing aid but

 7   do not indicate whether Regence provided coverage or, as they previously alleged, Plaintiffs paid

 8   out of pocket. (Dkt. 50-3, 50-4.)

 9             2.         Screening and Diagnostic Testing Does Not Address All the Needs of Non-
                          Disabled Insureds.
10

11             Even if Plaintiffs were correct that Regence covers some diagnostic testing, that does not

12   establish any more of a fit between the Exclusion and the disabled. It is undisputed that, if such

13   services were covered, they would be covered for both disabled and non-disabled insureds, and

14   neither group has more of an inherent need for such tests. Furthermore, Plaintiffs completely

15   ignore the Policy’s exclusion of routine hearing examinations, which even Plaintiffs’ expert

16   acknowledges are “ongoing evaluations conducted by audiologists.” (Dkt. 50 ¶ 2.) Contrary to

17   Plaintiffs’ contention that screenings and diagnostic testing comprise all of the hearing-related

18   medical needs of non-disabled insureds, any insured diagnosed with non-disabling hearing loss

19   would specifically need such ongoing evaluations to track the progression of their hearing loss. 3

20   Insureds with no hearing loss also may want regular hearing examinations by an audiologist if,

21   for example, hearing is important to their profession. Plaintiffs also fail to acknowledge that a

22   significant number of insureds with non-disabling hearing loss benefit from, and wear, hearing

23   aids. 4 Plaintiffs’ “needs-based” argument for proxy discrimination therefore requires that the

24
               3
                   Statistics cited by Plaintiffs show that 66.5% of individuals with hearing loss are not disabled. (Dkt 41 at
25
     14-15.)
               4
                   Plaintiffs cite statistics showing that 25-28% of people who use a hearing aid are not disabled. (Dkt. 42 ¶
26   86(c).)

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 1   Court ignore both the needs of insureds with little to no hearing loss and the exclusion of routine

 2   hearing examinations in the Policy.

 3            3.       Plaintiffs Cannot Manufacture a “Fit” by Narrowing the Scope of the
                       Analysis.
 4

 5            The primary way in which Plaintiffs attempt to differentiate the SAC from their prior

 6   complaints is to allege that the Policy discriminates by excluding hearing aids rather than hearing

 7   treatment generally. (See Dkt. 49 at 8 (narrowing claims to address exclusion of hearing aids

 8   “permits conclusions on the proxy’s ‘fit’”).) This is nothing more than an attempt to create a fit

 9   where none exists by ignoring parts of the Policy that exclude coverage applicable to insureds

10   with non-disabling hearing loss. The Court should reject this approach out of hand.

11            Almost any exclusion or restriction that applies to both the disabled and non-disabled can

12   be broken down into subparts that may be more or less favorable to either group. The Ninth

13   Circuit in Schmitt specifically rejected such attempts to formulate the question so as to suggest

14   the answer: “[A] section 1557 plaintiff cannot define the benefit so narrowly as to require an

15   insurer to curate coverage for each individual’s health care needs.” Schmitt, 965 F.3d at

16   959. That is precisely what Plaintiffs seek to do here. After this Court and the Ninth Circuit

17   found that the proxy’s fit with disability was not sufficiently close to infer discrimination,

18   Plaintiffs amended their complaint to redefine the benefit at issue to more closely match their

19   specific needs. The Policy did not change, and the statistics did not change. Plaintiffs simply

20   ask the Court to ignore the Policy provisions that are less favorable to their claim. The Court

21   should decline the invitation.

22            Properly viewed in the context of the Policy as a whole, including the full Exclusion,

23   Plaintiffs’ proxy discrimination claim fails for the reasons previously articulated by this Court.

24   (Dkt. 41 at 14-16.) Only 27.9% of the hearing loss population is disabled and affected by the

25   Exclusion. (Id. at 15.) 66.5% of people with hearing loss are not disabled—more than double

26   the number of disabled individuals. (Id.) And even among the disabled, those with the most

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 1   severe disabilities receive coverage for cochlear implants. (Id. at 16.) Plaintiffs’ Policy does not

 2   discriminate against the hearing disabled, and their ACA claim should be dismissed.

 3            4.       Fuog Does Not Support Plaintiffs’ New Proxy Theory.

 4            Plaintiffs’ Opposition relies on Fuog v. CVS Pharmacy, in which the District of Rhode

 5   Island found that the disabled plaintiff stated a claim under Section 1557 by alleging that her

 6   pharmacy’s policy of refusing to fill opioid prescriptions above a certain dosage was

 7   discriminatory. (Dkt, 49 at 7, 17 (citing No. CV 20-337 WES, 2022 WL 1473707, at *5-7

 8   (D.R.I. May 10, 2022)).) Fuog, however, is distinguishable and is not binding on this Court. 5

 9            The court in Fuog initially dismissed the plaintiff’s complaint but allowed the amended

10   proxy discrimination claim to move forward after the plaintiff cited “a series of studies indicating

11   a strong statistical correlation between rates of disability and the prevalence and size of opioid

12   prescriptions.” Id. at *3. Fuog therefore stands for the unremarkable proposition that a plaintiff

13   can show a fit between a proxy and disability by using statistical allegations. Here, however, this

14   Court has already found that Plaintiffs’ attempt to do that showed that “[t]he non-disabled

15   proportion of th[e] proxy outnumbers the disabled proportion by at least 2-to-1.” (Dkt. 41 at 16.)

16   As discussed, Plaintiffs’ response to this was to improperly ask the Court to ignore the parts of

17   the Policy’s Exclusion that are more likely to apply to non-disabled insureds. Plaintiffs have

18   failed to allege the strong statistical correlation found in Fuog, and that case’s proxy

19   discrimination analysis is therefore inapposite.

20

21

22             5
                 Plaintiffs actually cite three new cases in support of their narrower focus on only one part of the broader
     Exclusion. (Dkt. 49 at 7.) Apart from Fuog, the other two cases do not address any issues presented by Defendants’
23   Motion. In C.P. v. Blue Cross Blue Shield of Illinois, this Court denied the defendant’s motion to dismiss, finding
     that the allegation that it denied coverage for transgender reassignment surgery was sufficient to state a claim for
24   discrimination on the basis of sex. 536 F. Supp. 3d 791, 797 (W. D. Wash. 2021). And in T.S. v. Heart of CarDon,
     LLC, the court determined that the plaintiff had standing to assert a claim under Section 1557 even though he was
     not a direct recipient of federal funding provided to the defendant. No. 120CV01699TWPTAB, 2021 WL 981337,
25
     at *9 (S.D. Ind. Mar. 16, 2021), reconsideration denied, motion to certify appeal granted, No. 1:20-CV-01699-
     TWP-MG, 2021 WL 2946447 (S.D. Ind. July 14, 2021).
26

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 1   B.       Plaintiffs Fail to State a Disparate Impact Claim Under the ACA.

 2            Disparate impact claims under the ACA are subject to the same test as discrimination

 3   claims under Section 504 of the Rehabilitation Act. See Doe v. CVS Pharmacy, Inc., 982 F.3d

 4   1204, 1210 (9th Cir. 2020). Pursuant to the controlling case, Alexander v. Choate, not all

 5   disparate impact showings are actionable—only those in which “an otherwise qualified” disabled

 6   individual is denied “meaningful access to the benefit that the grantee offers.” 469 U.S. 287,

 7   301, 105 S. Ct. 712, 83 L. Ed. 2d 661 (1985); see also Schmitt, 965 F.3d at 950 (9th Cir. 2020)

 8   (“section 504 does not require an insurer to design plan benefits so as to avoid imposing a

 9   disproportionate burden on disabled people—the insurer need only provide disabled people

10   ‘meaningful access’ to whatever benefits it chooses to offer.”). 6

11            Plaintiffs’ disparate impact theory in the SAC fails for the same reason as their

12   meaningful access claim in the first Complaint, which the Court previously dismissed (Dkt. 22 at

13   5): Because the exclusions of both hearing treatment and hearing aids apply to all insureds,

14   Plaintiffs are not denied meaningful access to benefits available to non-disabled insureds.

15            Plaintiffs argue in response is that the relevant “benefit” for this analysis should be

16   “coverage of hearing aids” rather than the full Exclusion. (Dkt. 49 at 21.) They contend that

17   “the ACA statute and regulations” require coverage of hearing aids as a “[r]ehabilitative [or]

18   habilitative service[],” and exclusion therefore denies “them access to the essential medical

19   equipment that would address and ameliorate their disability, while non-disabled insureds are

20   able to have their needs . . . met.” (Id. at 21-22.) This is wrong on two counts.

21            First, neither the ACA nor its implementing regulations mandate coverage of hearing

22   aids. Defendants addressed this more fully in their first Motion to Dismiss. (Dkt. 11 at 9-10.) In

23   short, the ACA mandates coverage of “essential health benefits” (“EHB”), which include some

24            6
                Despite Plaintiffs’ contention that they did not previously plead a disparate impact claim, they did allege
     discrimination based on a facially neutral policy. (See generally Dkt. 1.) Furthermore, Defendants’ first Motion to
25
     Dismiss and this Court’s opinion analyzed the claim under Choate. Contrary to Plaintiffs’ assertion, Defendants did
     not “lose” this argument in the Ninth Circuit or else Plaintiffs would have stated a claim. Instead, recognizing that
26   Choate’s meaningful access theory did not apply, the Court addressed their proxy discrimination theory.

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                                                                                                STOEL RIVES LLP
                                                                                                     ATTORNEYS
                                                                                600 University Street, Suite 3600, Seattle, WA 98101
     115773116.5 0027496-00127                                                                Telephone 206.624.0900
 1   “[r]ehabilitative and habilitative services and devices,” but the Secretary of Health and Human

 2   Services left it to each state to articulate the scope of EHBs in that state. 42 U.S.C. § 18022(b),

 3   18022(b)(1)(G), 18022(b)(2)(A). States did so through the adoption of a “benchmark plan,” and

 4   Washington’s benchmark plan does not mandate coverage of hearing aids. WAC 284-43-

 5   5640(7)(b)(i) & (c)(iv). This Court also addressed this issue in Schmitt:

 6                     The list of EHBs includes “[r]ehabilitative and habilitative services
                       and devices” of equal scope as that provided under a typical
 7                     employer plan. 42 U.S.C. § 18022(b)(1)(G) and (b)(2)(A). In
                       Washington, the “benchmark” plan of a typical employer covers
 8                     cochlear implants, but not hearing aids. WAC § 284-43-
                       5640(7)(b)(1) and (c)(4). Plaintiffs are not arguing that defendants
 9                     violated the ACA by failing to cover an EHB.

10   Schmitt v. Kaiser Found. Health Plan of Washington, No. C17-1611RSL, 2018 WL 4385858, at

11   *2 (W.D. Wash. Sept. 14, 2018). 7

12            Second, Plaintiffs’ argument misstates the appropriate inquiry. Choate asks whether the

13   disabled have meaningful access to a benefit that is accessible to others. Even if the relevant

14   benefit for Plaintiffs’ claim were “hearing aids,” as alleged in the SAC, the claim still fails

15   because no insureds have access to coverage for hearing aids. Plaintiffs try to avoid this problem

16   by framing the inquiry as whether they received meaningful access to the treatment they need.

17   (Dkt. 49 at 22.) But if that were the test, then the ACA would mandate coverage of every

18   treatment needed by any disabled insured. As the Ninth Circuit noted, the ACA “does not

19   guarantee individually tailored health care plans;” it attempts to provide adequate health care

20   through EHBs, which do not include hearing aids. Schmitt, 965 F.3d at 955. 8

21            Plaintiffs again cite Fuog in support of their contention that the ACA mandates that they

22   receive “effective treatment for their disability.” (Dkt. 49 at 23 (citing 2022 WL 1473707, at *6-

23

24
              7
                 Contrary to Plaintiffs’ suggestion, Defendants’ Motion did not argue that the state benchmark plan’s
     exclusion of hearing aids was relevant to their disparate impact theory. Defendants only raise the issue here because
     Plaintiffs wrongly suggest that ACA regulations mandate coverage of hearing aids.
25             8
                 Plaintiffs’ reliance on CVS Pharmacy is misplaced. (Dkt. 49 at 21-22.) In that case, the benefit at issue
     was the plaintiff’s “prescription drug benefit as a whole,” which was both an EHB under the ACA and a benefit that
26   was available to non-disabled insureds. CVS Pharmacy, 982 F.3d at 1210. Hearing aids are neither.

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                                                                                                    ATTORNEYS
                                                                               600 University Street, Suite 3600, Seattle, WA 98101
     115773116.5 0027496-00127                                                               Telephone 206.624.0900
 1   7).) Fuog’s discussion of disparate impact, however, does not aid Plaintiffs here. In Fuog, the

 2   district court sustained the plaintiff’s disparate impact theory after finding that the benefit at

 3   issue was the right to have her prescription filled according to her doctor’s judgment. 2022 WL

 4   1473707, at *6. As pled, her claim alleged that the pharmacy provided this benefit to non-

 5   disabled insureds but denied her meaningful access to it. Id. at *6-7. Plaintiffs here, however,

 6   cannot make the same allegation. Whether the benefit is the Policy as a whole, coverage for

 7   hearing loss, or coverage for hearing aids specifically, the disabled and non-disabled have

 8   exactly the same access. Plaintiffs can only create a disparate impact by defining the benefit as

 9   coverage for treatment that they need, which the ACA does not guarantee.

10            This Court has already rejected Plaintiffs’ “meaningful access” theory, and the Ninth

11   Circuit has confirmed that that is still the test for disparate impact claims under the ACA.

12   Plaintiffs cannot state a claim under this theory for a benefit that is not provided to any insureds.

13   C.       Plaintiffs Fail to Plead a Claim for “Deliberate Indifference.”

14            Plaintiffs’ third theory under the ACA is that Defendants intentionally discriminated

15   against the hearing disabled by excluding coverage for hearing aids without medical justification.

16   (Dkt. 42 ¶¶ 93-99.) Plaintiffs claim that hearing aids are eligible for coverage under Regence’s

17   “technology assessment process,” and the decision not to cover them was “an intentional choice

18   or, at the very least, the result of deliberate indifference to the effect it would have on its insureds

19   with disabling hearing loss.” (Id. ¶ 99.) Although Plaintiffs’ Opposition describes this theory as

20   “a new claim,” the allegations do not support an independent claim. Instead, they only seek to

21   allege the state of mind necessary for the recovery of damages, and they fail to plead even that

22   element of the claim.

23            The Ninth Circuit, in Schmitt, noted that “a mens rea of ‘intentional discrimination’ . . .

24   by showing ‘deliberate indifference’ or ‘discriminatory animus’” was required for the plaintiffs

25   “[t]o be entitled to monetary damages.” Schmitt, 965 F.3d at 954, n.6 (quoting Mark H. v.

26   Lemahieu, 513 F.3d 922, 938 (9th Cir. 2008)) (emphasis added). The Court’s opinion in

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                                                                                       STOEL RIVES LLP
                                                                                            ATTORNEYS
                                                                       600 University Street, Suite 3600, Seattle, WA 98101
     115773116.5 0027496-00127                                                       Telephone 206.624.0900
 1   Lemahieu explains that a showing of deliberate indifference is an additional element for

 2   damages on a meaningful access (or proxy discrimination) claim:

 3                       Our cases on the appropriate mens rea standard for a § 504
                         damages remedy recognize—as they must after Crowder—that §
 4                       504 itself prohibits actions that deny disabled individuals
                         “meaningful access” or “reasonable accommodation” for their
 5                       disabilities. Those cases then go on to analyze the state of mind
                         with regard to a denial of “meaningful access” or “reasonable
 6                       accommodation” necessary to justify monetary damages. As to
                         this latter question, we have held that plaintiffs must prove a mens
 7                       rea of “intentional discrimination,” to prevail on a § 504 claim, but
                         that that standard may be met by showing “deliberate
 8                       indifference,” and not only by showing “discriminatory animus.”
                         Thus, a public entity can be liable for damages under § 504 if it
 9                       intentionally or with deliberate indifference fails to provide
                         meaningful access or reasonable accommodation to disabled
10                       persons.

11   Lemahieu, 513 F.3d at 938 (citations omitted) (emphasis added).

12            Plaintiffs’ SAC seeks damages allegedly incurred as a result of Defendants’ deliberate

13   indifference. But merely alleging intentional conduct through deliberate indifference does not

14   eliminate the need to show discrimination in the first place, whether through proxy

15   discrimination or a lack of meaningful access. As argued in Defendants’ Motion, Plaintiffs

16   cannot show that the Exclusion is discriminatory, and they cannot do an end run around the

17   meaningful access or proxy discrimination tests simply by alleging that Defendants intentionally

18   discriminated against them. (Dkt. 45 at 24.)

19            Even if Plaintiffs could state a claim merely by alleging intentional discrimination, the

20   allegations in the SAC are conclusory and unsupported. As discussed in Plaintiffs’ Motion, the

21   “technology assessment process” that Plaintiffs claim Defendants ignored does not control

22   coverage decisions. (Id. at 25.) Instead, it is just one of many factors that contribute to the

23   development of medical policies, and those medical policies merely “provide guidelines for

24   determining coverage criteria.” 9 Plaintiffs’ attempt to plead intentional discrimination based on

25   this policy manual fails.

26            9
                  See https://blue.regence.com/trgmedpol/intro/index.html.

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                                                                                                  ATTORNEYS
                                                                             600 University Street, Suite 3600, Seattle, WA 98101
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 1            In sum, Plaintiffs fail to allege facts sufficient to state a claim pursuant to any of their

 2   three theories under the ACA. Count I of the SAC should be dismissed.

 3   D.       Plaintiffs Fail to State a Claim Under RCW 48.43.0128.

 4            Plaintiffs have modified their claim under RCW 48.43.0128, now seeking to assert a

 5   direct claim under the statute rather than asserting it as a breach of contract claim. (Dkt. 42 ¶¶

 6   100-03.) The statute, however, does not provide a private right of action, and Plaintiffs’

 7   contention to the contrary is based on a misreading of statutory text. Even if the statute did allow

 8   a direct claim, that claim would fail for the same reason stated in Defendants’ prior motion:

 9   Regence cannot have violated a state statute by complying with its implementing regulations.

10            Plaintiffs first argue that the Washington Legislature amended RCW 49.60.178 in 2021,

11   adding a private right of action for violation of RCW 48.43.0128. (Dkt. 49 at 27-29.) The text

12   of the statutes, however, does not support this assertion. RCW 49.60.030(2) provides a right of

13   action to “[a]ny person deeming himself or herself injured by any act in violation of this

14   chapter”—Chapter 49. But Plaintiffs are suing under RCW 48.43.0128, which is in Chapter 48,

15   so the right of action does not apply. Nor does amended RCW 49.60.178 allow a right of action.

16   That statute is titled, “Unfair practices with respect to insurance transactions,” (emphasis added),

17   and its text is limited to the cancellation, issuance, and renewal of policies: “It is an unfair

18   practice for any person . . . in connection with an insurance transaction . . . to cancel or fail or

19   refuse to issue or renew insurance . . . to any person because of . . . the presence of any sensory,

20   mental, or physical disability . . . .” RCW 49.60.178(1). It further requires that, to be actionable,

21   the unfair practice must also violate one of three other statutes, one of which is RCW

22   48.43.0128. Id. But that does not make a violation of RCW 48.43.0128 actionable by itself.

23   Plaintiffs’ claim here does not allege that Regence canceled or refused to issue or renew their

24   policy, and RCW 49.60.178 does not apply. 10

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                 Plaintiffs’ claim also fails because the statute’s implementing regulations expressly allow the exclusion
     of hearing aids and other hearing treatment. WAC XXX-XX-XXXX(1)(b)(vii). It makes no difference how OIC
26   determined the benchmark plan (Dkt. 49, n.11), adherence to regulations cannot be a violation of state law.

     REPLY IN SUPPORT OF DEFENDANTS’ MOTION TO DISMISS SECOND AMENDED
     COMPLAINT (2:17-cv-01609-RAJ) - 12
                                                                                                 STOEL RIVES LLP
                                                                                                      ATTORNEYS
                                                                                 600 University Street, Suite 3600, Seattle, WA 98101
     115773116.5 0027496-00127                                                                 Telephone 206.624.0900
 1   E.       Plaintiffs Fail to State Claims Under the Consumer Protection Act and for
              Declaratory and Injunctive Relief.
 2

 3            Plaintiffs’ Opposition concedes that they may only state a claim under the CPA if they

 4   successfully plead a claim under RCW 48.43.0128. (Dkt. 49 at 30.) Similarly, Plaintiffs

 5   acknowledge that their claims for declaratory and injunctive relief rise and fall with their other

 6   claims. (Id.) Because Plaintiffs have failed to state any claims for relief, as discussed above,

 7   their claims under the CPA and for declaratory and injunctive relief must also be dismissed.

 8   F.       The Court Should Deny Leave to Replead.

 9            Plaintiffs’ third failed attempt to plead a discrimination claim makes clear that further

10   amendment would be futile. Instead of pleading additional facts in support of their claims,

11   Plaintiffs have improperly attempted to narrow the Court’s focus—an implicit recognition that

12   they cannot plead a claim based on the Policy as a whole. Furthermore, as discussed above, the

13   extrinsic evidence that they improperly submitted does not support the contention for which it is

14   cited and therefore would not aid a future complaint.

15                                           III. CONCLUSION

16            For the reasons above, Defendants respectfully request that the Court grant their Motion

17   and deny Plaintiffs leave to amend.

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     REPLY IN SUPPORT OF DEFENDANTS’ MOTION TO DISMISS SECOND AMENDED
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                                                                                      STOEL RIVES LLP
                                                                                           ATTORNEYS
                                                                      600 University Street, Suite 3600, Seattle, WA 98101
     115773116.5 0027496-00127                                                      Telephone 206.624.0900
 1
               DATED: June 17, 2022.
 2                                     STOEL RIVES LLP
 3

 4                                     /s/Maren Norton
                                       Maren R. Norton, WSBA No. 35435
 5
                                       maren.norton@stoel.com
 6                                     Brad S. Daniels, WSBA No. 46031
                                       brad.daniels@stoel.com
 7
                                       STOEL RIVES LLP
 8                                     600 University Street, Suite 3600
                                       Seattle, WA 98101
 9
                                       Telephone: 206.624.0900
10                                     Facsimile: 206.386.7500

11                                     Attorneys for Defendants
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     REPLY IN SUPPORT OF DEFENDANTS’ MOTION TO DISMISS SECOND AMENDED
     COMPLAINT (2:17-cv-01609-RAJ) - 14
                                                                  STOEL RIVES LLP
                                                                       ATTORNEYS
                                                  600 University Street, Suite 3600, Seattle, WA 98101
     115773116.5 0027496-00127                                  Telephone 206.624.0900
